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 8                              UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
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11 UNITED STATES OF AMERICA,
                                                      NO. CR. S-08-00410 KJM
12                 Plaintiff,
13          v.                                        ORDER
14 FERNANDO LOPEZ AMARILLAS,
15               Defendant.
     ________________________________/
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17          By stipulation and order, dated July 6, 2011, this case was scheduled for a July 14,
18 2011 status conference. On Tuesday, July 12, 2011 at 4:36 p.m., counsel sought to
19 continue the scheduled hearing. In light of this tardy request for a continuance, it is
20 hereby ORDERED that within seven days, the parties shall file a joint statement
21 acknowledging their understanding of the court’s policy regarding timely filing of
22 requests to continue.
23 DATED: July 13, 2011.
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                                                 UNITED STATES DISTRICT JUDGE
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